     Case 1:18-cv-00950-LO-JFA Document 80 Filed 01/22/19 Page 1 of 1 PageID# 1746



                              UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                        Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                                      NOTICE OF SUBMISSION

            Plaintiffs submit this Exhibit A to Plaintiffs’ Motion for Temporary Sealing (Docket No.

     76), filed January 18, 2019.



                                                                  Respectfully Submitted,


Dated January 22, 2019                                            /s/ Scott A. Zebrak   /
                                                                  Scott A. Zebrak (38729)
                                                                  Matthew J. Oppenheim (pro hac vice)
                                                                  Jeffrey M. Gould (pro hac vice)
                                                                  OPPENHEIM + ZEBRAK, LLP
                                                                  4530 Wisconsin Avenue, NW, 5th Floor
                                                                  Washington, DC 20016
                                                                  Tel: 202-480-2999
                                                                  scott@oandzlaw.com
                                                                  matt@oandzlaw.com
                                                                  jeff@oandzlaw.com

                                                                  Attorneys for Plaintiffs
